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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


     AHMED EISSA,

               Plaintiff,
                                                                Case No.: 1:21-cv-11515
     v.

     LEDVANCE LLC, KARSTEN FETTEN,
     MARCI PIPER and ALAN BARLOW,

               Defendants

            PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                             MOTION TO DISMISS

          The Plaintiff, AHMED EISSA (“Plaintiff”)vhereby submits his Opposition to the Motion

to Dismiss served by the DEFENDANTS LEDVANCE, ALAN BARLOW, KARSTEN FETTEN,

and MARCI PIPER (“Defendants”). The Plaintiff’s detailed Complaint more than sufficiently

alleges viable claims under the Massachusetts Parental Leave Act and G.L. c. 151B. Accordingly,

the Defendants’ motion should be denied.

                                      FACTUAL BACKGROUND

          Accepting as true the allegations in Plaintiff’s Complaint, the facts, which are quite

extensive, are as follows. The Plaintiff is a male and a native of Egypt who was hired on August

30, 2018 as a Product Marketing Manager (“PM”) for Defendant, Ledvance, LLC (“Defendant

Ledvance”), a company that sells general lighting for lighting professionals as well as end users.

For almost two years, the Plaintiff worked as a dedicated and successful PM. On August 7, 2020,

just after the birth of his first child and shortly after returning from his paternity and Family

Medical Leave (“FMLA”), Defendant Ledvance terminated him, despite his successful

performance successfully managing one of the company’s largest portfolios and despite the
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absence of any negative performance review and/or discipline in his record. Indeed, the terms and

conditions of his employment had changed drastically in November 2019 when, after the October

2019 birth of his child, the Plaintiff sought to take advantage of the company's 12 week family

leave/paternity leave. Plaintiff’s Complaint, ¶¶ 6-14.

        During a November 2019 meeting, Defendant Ledvance's Human Resources

representative, Ms. Marci Piper (“Defendant Piper”) met with the Plaintiff and acknowledged that

he was entitled to twelve (12) weeks of family leave under the company policy. However, when

he approached her about his leave request, she expressly discouraged him from utilizing this

benefit and discouraged him from being away from the company for the full 12 weeks. She also

informed him that the company did not specifically have a paternity leave policy. Plaintiff’s

Complaint, ¶¶ 6-14.

        Defendant Piper also told the Plaintiff that no other male employee had previously taken a

full 12 week paternity leave. When the Plaintiff had requested examples of other employees

accommodating the company’s needs, Defendant Piper responded that there was "not much

precedence" for male employees taking time off. Given the tenor of this discussion, the Plaintiff

grew concerned and then bluntly asked her whether exercising his rights to take paternity leave

would have adverse consequences on his employment. In response, Defendant Piper obliquely

responded that, "Some people might wonder if the company really needs an employee if the

company subsists without the employee for such a long period of time." Plaintiff’s Complaint, ¶¶

6-14.

        The Plaintiff had specifically asked for a full, uninterrupted paternity leave and all his

emails with Defendants Piper and Alan Barlow, reiterated this request. It was not – and never - a

part-time work arrangement that translated into a request for intermittent leave. The Plaintiff




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sought a full leave opportunity so that he could truly experience the birth and joy of his first child

without the interruption of his demanding and competing work obligations. Plaintiff’s Complaint,

¶¶ 6-29.

       The Plaintiff’s request for full leave was made from the beginning of his discussions with

Defendant Ledvance, as his email to Defendant Barlow, the individual overseeing all human

resource and leave issues at Defendant Ledvance, and all his previous communications with

Human Resources clearly illustrate. Of additional import, never did the Defendants deny that any

of these discussions occurred in the contemporaneous email exchanges they had with the Plaintiff

on this subject. At no point did the Plaintiff ask to work remotely full time for three (3) months.

The Plaintiff did show willingness to do so, but only because he was concerned about his

employment status, especially given his discussions with Defendants Piper and Karsten Fetten, his

immediate supervisor. Plaintiff’s Complaint, ¶¶ 6-35.

       Concerned, the Plaintiff reported these discussions to Defendant Barlow, but the Plaintiff’s

concerns were not ameliorated. Indeed, Defendant Barlow did not seek to refute any of the

Plaintiff’s contentions nor did he take any remedial action concerning Defendants Piper and

Fetten’s actions. Consequently, the Plaintiff did not want to do anything that would jeopardize his

job. The remote work option was a compromise on his part because his preference had been not to

work during his leave. Plaintiff’s Complaint, ¶¶ 6-35.

       When Defendant Piper discouraged the Plaintiff from taking complete paternity leave and

asked him to find an alternative arrangement, the Plaintiff told Defendant Fetten about that

conversation and explained to him that he would be accommodating the company’s needs even if

it meant having to work full-time from Egypt. In his first conversation with Defendant Fetten about

his leave request, the Plaintiff let him know that he would be taking leave towards year’s end. The




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Plaintiff never brought up wanting to be compensated while he was away on leave. Plaintiff’s

Complaint, ¶¶ 6-30.

       When the Plaintiff agreed to work part-time during his leave, the agreement was that the

majority of the load was going to shift to other employees and that he would act in a supporting

role. This was communicated to the entire team and another team member, Mr. Francisco Garza,

expressed interest in taking over some of his product. The Plaintiff talked to Defendant Fetten

about this development and gave his opinion that he thought it was a good fit, given that Mr. Garza

used to manage a large part of his portfolio before it was handed over to the Plaintiff. Plaintiff’s

Complaint, ¶¶ 6-39.

       Defendant Fetten, however, never took action to transfer this shift in workload, and

consequently, the Plaintiff continued to manage a full-time load on half, part-time pay during his

intermittent paternity leave. The Plaintiff did not say anything at the time to Defendants because

he was understandably concerned about losing his job and he was willing to do whatever he did to

make sure he had a job to return to following his leave, especially given what they had told him

before his leave that his job could be in jeopardy. In addition, Defendant Fetten also explicitly

instructed the Plaintiff to only report part-time hours, even though he continued to carry the full-

time load of his work responsibilities. Plaintiff’s Complaint, ¶¶ 6-45.

       During June 2020, Defendant Fetten and Mr. Michael Amthor (“Mr. Amthor”)(from

Defendant Ledvance’s Human Resources department) then had a call with the Plaintiff to discuss

what would happen after the Plaintiff ran out of leave/FMLA hours and to discuss the current

COVID-19 prohibition of international air travel. During this discussion, Defendant Fetten blamed

the Plaintiff for being stuck in Egypt and was extremely aggressive with him - so much so that

Mr. Amthor called the Plaintiff immediately after the call ended to check in on him because he




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was surprised by Defendant Fetten’s unnecessary and unprofessional aggressiveness. Plaintiff’s

Complaint, ¶¶ 6-57.

       Just weeks after returning from his leave, the Plaintiff was unlawfully terminated. The

reasons given by the Defendants for the Plaintiff’s termination were false, inconsistent and

manufactured. At the time of his termination, the Plaintiff was one of seven employees terminated

in a purported reduction in force, and to the best of his knowledge, the Plaintiff was the only PM

who was involuntarily terminated after taking a leave. To include a PM in a reduction of force

does not make sense for Defendant Ledvance. The PM role is a position for which there is always

demand for, and employers like the Defendants often find it difficult to fill. In fact, the demand for

PMs is so great that the Defendants started moving engineers and bringing back retired employees

just to fill the need. Indeed, the Plaintiff was retained throughout two rounds of layoffs that

occurred during 2019 because of this demand and because of his productivity. Additionally, these

layoffs, and the 2020 layoff, primarily affected support functions like manufacturing, engineering

and supply chain positions, rather than positions like the Plaintiff’s. Plaintiff’s Complaint, ¶¶ 6-

57.

       Indeed, the Defendants were rehiring for the Plaintiff’s same position within a couple of

months after terminating him. Moreover, they continue to have even a present need for that

position as well based on a recent and second job posting for his PM position following his layoff.

The other shifting reason the Defendants provide for the Plaintiff’s inclusion in the layoff was his

performance. However, no documentation supports any negative assessment of his performance.

The Plaintiff excelled in his role and received favorable reviews for his performance from his

colleagues and his superiors. Meanwhile, the Plaintiff was terminated and his female colleagues -




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who received a full 8 week and/or 12 week uninterrupted maternity leave - were not. Plaintiff’s

Complaint, ¶¶ 6-57.

                                   STANDARD OF REVIEW

       The Supreme Court does not require heightened fact pleading in employment

discrimination cases; “a complaint need only allege enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 569-570 (2007), citing

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508, 512, 514 (2002)). “In order to defeat a Fed. R.

Civ. P. 12(b)(6) motion, a complaint must contain ‘enough facts to raise a reasonable expectation

that discovery will reveal evidence’ supporting the claims.” Fantini v. Salem State Coll., 557

F.3d 22, 26 (1st Cir. 2009), quoting Twombly, s u p r a at 556.

                                         ARGUMENT

       I.      THE DEFENDANTS’ ARGUMENTS ATTACKING THE PLAINTIFF’S
               MASSACHUSETTS PARENTAL LEAVE ACT (“MPLA”) CLAIM ARE
               MERITLESS.

       The Defendants summarily contend that because the Plaintiff took his paternity leave two

months following the birth of his child, it was not timely. The Defendants, however, cite no binding

Massachusetts authority to support this contention. And that is because there is none. Indeed, the

pertinent MPLA statute, G.L. c. 149, § 105D(b), makes no mention of any such requirement. G.L.

c. 149, § 105D(b). The Defendants nonetheless reference an MCAD regulation’s that such leave

should not be “substantially later” following the birth of a child as grounds for denial of the

Plaintiff’s MPLA claim. Such contention, however, is unpersuasive.

       The Defendants cannot show that the Plaintiff’s request for paternity leave three weeks

following the birth of his child (and undisputed by the Defendants), or his taking leave beginning

in December 2019, was “substantially later” than the birth of his child. The Plaintiff’s child was



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born on October 26, 2019, and only three weeks later, the Plaintiff met with Defendant Piper and

promptly requested paternity leave from the Defendants. His request was prompt, timely and well

within the parameters of the MPLA, especially when it is considered that leave requests are also

provided for parents who adopt their children. It has long been recognized that adoptions do not

always occur immediately upon the birth of that child. See G. L. c. 149, § 105D.

        Moreover, the Guidance provided by MCAD contemplates leave that occurs weeks after

the birth or adoption of a child. See Defendants’ Exhibit D, MCAD Guidance. For example, the

guidance explains the following: “Absence for "the purpose of giving birth" as used in the MMLA

refers to absence from work for the purpose of preparing for or participating in the birth or adoption

of a child, and caring for a newborn or newly adopted child.” Id.

        Furthermore, the Plaintiff is aware of no case or other authority that has interpreted the

statute or regulation in such a narrow and restrictive manner as that advanced by the Defendants.

Such an interpretation violates a fundamental tenet of statutory interpretation of remedial statutes

such as the MPLA and G.L. c.151B.1 That is, there is an explicit legislative directive that the

MPLA and "the provisions of c. 151B 'shall be construed liberally' for the accomplishment of the

remedial purposes of the statute." Dahill v. Police Dep't of Boston, 434 Mass. 233, 240 (2001),

quoting G. L. c. 151B, § 9; see also Charland v. Muzi Motors, Inc., 417 Mass. 580, 583 (1994),

and G. L. c. 151B, § 9 ("One of the principal purposes of G. L. c. 151B is to 'protect the citizens

of the Commonwealth against employment discrimination,' . . . and its provisions are to be

'construed liberally for the accomplishment' of that purpose"); Thurdin v. SEI Boston, LLC, 452

Mass. 436, 441 (2008).           The Defendants’ interpretation, however, runs contrary to these


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           . Indeed, a violation of the MPLA constitutes a violation of the Massachusetts anti-discrimination law,
Chapter 151B. The remedies available to an employee who is denied rights under the MPLA are the same as those
available to an employee who suffers employment discrimination under Chapter 151B. See Global NAPS, Inc. v.
Awiszus, 475 Mass. 489, 496-97 (2010).


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fundamental principles.2 Against this backdrop, the Plaintiff has stated a plausible MPLA claim

for relief.

        II.      THE EVIDENCE ALSO SUPPORTS A FINDING OF INDIVIDUAL
                 LIABILITY AGAINST THE INDIVIDUAL DEFENDANTS.

        Chapter 151B § 4(5) prohibits “any person, whether an employer or an employee or not, to

aid, abet, incite, compel or coerce the doing of any of the acts forbidden under this chapter or to

attempt to do so.” Liability for aiding and abetting discrimination extends to “individuals,

including co-employees of the allegedly aggrieved employee.” Chapin v. Univ. of Mass. at Lowell,

977 F. Supp. 72, 78 (D. Mass. 1997). Under this theory of liability, an individual may be held

separately liable if he actively and intentionally provides substantial, supporting assistance to

intentional conduct that is prohibited by chapter 151 B. Planned Parenthood League of Mass.,

Inc. v. Blake, 417 Mass. 467, 481 (1994). Given the Plaintiff’s allegations of the substantial,

supporting assistance provided by Defendants Fetten, Piper and Barlow in discriminating against

the Plaintiff, viable liability attaches against each of them for aiding and abetting.

        To prevail on an aiding and abetting claim, a plaintiff must show (1) that the defendant

committed a wholly individual and distinct wrong that is separate and distinct from the claim in

main; (2) that the aider or abetter shared an intent to discriminate not unlike that of the alleged

principal offender; and (3) that the aider or abetter knew of his or her supporting role in an

enterprise designed to deprive the plaintiff]of a right guaranteed him or her under G.L. c. 151B.

Lopez v. Com., 463 Mass. 696, 713 (2012); see also Ping Zhao v. Bay Path Coll., 982 F.Supp.2d

104, 115-116 (D. Mass. 2013). Contrary to the Defendant’s assertions, there is more nuance to

what constitutes a "separate and distinct" act. For example, a manager's role in a workplace


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            The Defendants’ reference to Global NAPS, Inc. v. Awiszus, 475 Mass. 489, 496-97 (2010) does not alter
this conclusion. That decision does not address the legal issue present here nor does it bear any resemblance to the
facts of this case. Indeed, there was no discussion of the statutory phrase, “substantially later.” Id.


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investigation, or lack thereof, involving the complainant and/or his claims of discrimination may

qualify as a separate and distinct act. See id.; see also Semmami v. UG2 LLC, No. 18-cv-12396-

DJC, 16 (D. Mass. May. 24, 2019)(Casper, J.) (“Semmami has also alleged that UG2 knew about

Correia's harassment and either failed to act or conducted a sham investigation, enabling the

behavior to continue.”). Further, allegations of incidents which by nature require multiple actors

can establish joint activity sufficient for claims of aiding and abetting. Fisher v. Town of Orange,

885 F.Supp.2d 468, 477 (D. Mass. 2012) (allegations of pranks, verbal harassment, and rumor

spreading sufficient to establish "joint activity" and survive motion to dismiss under s. 4(5)).

         Here, the Plaintiff’s allegations against Defendant Barlow more than meet these

requirements.    The Defendants mistakenly contend that the Plaintiff’s allegations against

Defendant Barlow are based strictly on his email exchange with the Plaintiff and that such

allegations are insufficient to sustain his aiding and abetting claim. Such argument, however,

greatly misconstrues the Plaintiff’s Complaint and misapplies the correct 12(b)(6) standard. The

Plaintiff’s allegations in his Complaint extend well beyond the email exchange with the Plaintiff.

         Indeed, the Complaint alleges that Defendant Barlow, as the Vice President of Defendant

Ledvance’s Human Resources Department, was charged with the responsibility of reviewing and

either approving or denying employee leave requests as well as employee terminations and/or

layoffs. In this capacity, Defendant Barlow knew or should have known that the Plaintiff’s leave

was being encumbered and interfered with unlawfully, especially since the Plaintiff communicated

directly with Defendant Barlow about these events as they were occurring in person and via email.

Defendant Barlow, however, failed to act, failed to investigate and failed to protect the Plaintiff

from discrimination and/or retaliation, thereby giving rise to his individual liability. See Semmami,

supra.




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       Indeed, in the email communication provided by the Defendants, the Plaintiff summarized

to Defendant Barlow the discussion he had with Defendant Marci Piper after he indicated his

interest in taking the 12 week paternity leave and stated as follows:

       “She encouraged me to explore alternative work arrangements with my manager that
       would accommodate for my family’s needs and at the same time mitigate the potential
       impact of my absence on work. I asked for examples of what possible arrangements
       might look like based on precedence, and she informed me that there was not much
       precedence to draw upon.”

See Defendants’ Exhibit A to Defendants’ Motion to Dismiss (emphasis added). Within such

communication, the Plaintiff made it abundantly clear to Defendant Barlow that Defendant Piper

discouraged his use of the full 12 week paternity leave, and also told him that no other male

employee had taken a full 12 week paternity leave. In addition, he states the following:

       “I asked about whether this decision might have adverse consequences for my prospects
       with the company, and she responded that some people might wonder if the company
       can survive for that period without someone, whether the company really needs
       him/her.”

See id. (emphasis added).

       At that point, Defendant Barlow was also aware that Defendant Piper told the Plaintiff that

his job would not be protected if he took advantage of a full 12 week paternity leave. Indeed, as

the Plaintiff soon found out, his job was not protected after all following his leave. Despite

learning of these developments, Defendant Barlow did not conduct any investigation and did not

address any of these statements by Defendant Piper. Defendant Barlow also did not tell the

Plaintiff that Defendant Piper was unlawfully interfering with his right to leave and/or

discriminating against him. Defendant Barlow also did not even acknowledge that Defendant Piper

was mistaken, or that he “misinterpreted” Defendant Piper.3


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 Notably, during his employment the Plaintiff never received any communication from
Defendant Piper indicating that he misinterpreted her statements.


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       In addition, the Plaintiff also alleges in his Complaint that he reported his discouraging

discussion with his supervisor, Defendant Fetten, to Defendant Barlow, and once again, Defendant

Barlow took no action to rectify this misconduct. In the Plaintiff’s email, he reported that

Defendant Fetten had informed him that his decision to take paternity leave would “ ‘have

consequences’ ” and that a “ ‘ decision will have to be made’ ” by the company. Yet, Defendant

Barlow failed to take any remedial action or conduct any investigation whatsoever.

       The Plaintiff also highlighted in this email correspondence to Defendant Barlow that he

had no intention of working during his leave, but was only considering that option because of his

concern for his continued employment given his disconcerting discussions with Defendants Piper

and Fetten. Indeed, the Plaintiff explains the following:

               “I reiterate that commitment to you now, and that I am willing to consider changing
               travel arrangements and/or work more hours when I am away to support the
               business. I do that out of my commitment to the company and eagerness to continue
               building on the work I have put so far into the products I manage. I also do that on
               the assumption that I will get a chance to come back and resume my current position
               at end of the paternity leave.

               My conversation with Karsten this morning makes me question whether that will
               be possible. It would be a whole different set of considerations that my wife and I
               need to deliberate if my employment with the company is at stake. I would like
               some clarity from you on this issue and guidance on how to move forward given
               the very short time left before our planned travel.”

Id. (emphasis added). Once again, however, Defendant Barlow did not respond to the Plaintiff’s

concerns or rectify this mistreatment, but instead, facilitated this continuing course of disparate

treatment. Moreover, he knew and/or should have known that the Plaintiff’s termination shortly

after and in retaliation for his leave was in contravention of statutory and regulatory requirements.

Defendant Barlow, once again, however, failed to correct this unlawful act.

       Overall, the Plaintiff’s allegations establish that Defendant Barlow not only acquiesced and

failed to assist the Plaintiff, but also failed to investigate the misconduct as the leading authority



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in the Human Resources department, rendering him individually liable under G.L. c. 151B. See

Chapin, supra at 80; see also Jorge v. Silver City Dodge, 15 MDLR 1518, 1531 (1993), quoting

Munford v. James T. Barnes Co., 441 F. Supp. 459, 466 (E.D. Mich. 1977) ("`[f]ailure to

investigate gives tacit support to the discrimination because the absence of sanctions encourages

abusive behavior.' "); Przybycien v. Aid Maintenance Co., 13 MDLR 1266, 1283 (1991) (same).

Liability also attaches against supervisors individually for aiding and abetting discrimination

because of their acquiescence in a retaliatory firing of an employee who complains of

discrimination. See Hope v. San Ran, Inc., 8 MDLR 1195, 1211 (1986). Such acquiescence

constitutes a "separate, illegal act[ ] of aiding and abetting discrimination" sufficient to hold an

individual employee, such as Defendant Barlow, personally liable. Id. at *17. All in all, the litany

of allegations against Defendant Barlow more than sufficiently establish “separate and distinct

acts” well beyond his email exchange with the Plaintiff that render him liable. In addition, his

joint activity with Defendant Piper and Defendant Fetten also give rise to his individual liability

for aiding and abetting under G.L. c. 151B. See Fisher, supra at 477.

       Indeed, the Plaintiff’s allegations surrounding the joint efforts of Defendants Barlow,

Fetten and Piper in denying and interfering with the Plaintiff’s leave request and treating him

differently from his female colleagues, combined with their joint efforts in taking adverse

employment actions against him during his employment and ultimately selecting him for

termination, more than adequately allege Defendants’ Fetten and Piper’s aiding and abetting

liability under G.L.c. 151B. See Fisher, supra at 477 (plaintiff’s allegations of “joint activity”

defeated defendants’ motion to dismiss aiding and abetting discrimination claim). As detailed

above, Defendant Fetten’s own individual actions adversely affected the Plaintiff’s employment

and ultimately resulted in his wrongful termination. He deprived the Plaintiff of the opportunity




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for unfettered leave. He required the Plaintiff to work full-time during his leave, and yet, only

paid him for part-time hours. He also treated him disparately from his other colleagues and

subsequently selected him for termination, manufacturing false and inconsistent reasons to justify

his termination. Defendant Piper also substantially facilitated the interference with the Plaintiff’s

leave request and his termination, and as a Human Resources representative, she also failed to

properly investigate the unlawful actions. Contrary to the Defendant’s assertions, the Plaintiff’s

Complaint sufficiently alleges acts giving rise to Defendants Piper’s and Fetten’s individual

liability well beyond the denial of his leave request and sufficient to defeat a motion to dismiss.

Discovery will also likely reveal additional evidence showing additional distinct acts these

Defendants took on their own in order to aid Defendant Ledvance in discriminating and retaliating

against the Plaintiff. Therefore, it would be premature to dismiss the Plaintiff’s claims4 against

these individual defendants. See Ping Zhao, supra at 116; cf. Fisher, supra at 477.5

         III.     THE PLAINTIFFS’ FMLA CLAIM AGAINST DEFENDANT BARLOW IS
                  ALSO VIABLE.

         For the reasons discussed in Section II of this Memorandum, the Plaintiff’s Family

Medical Leave Act claim is also viable against Defendant Barlow. The Plaintiff has sufficiently



         4
            In their motion, the Defendants do not contend that the Plaintiff cannot state viable G.L. c. 151B claims of
interference against Defendants Barlow, Fetten and Piper. To the extent that their motion can be construed otherwise,
the Plaintiff submits that such argument cannot prevail. To establish a claim for interference under c. 151B, § 4(4A)
against the individual defendants, the Plaintiff must show that they interfered with his rights in deliberate disregard of
them. Runyon v. Wellington Mgmt.Co. LLP, 2015 WL 1276825, *6 (2015), citing Furtado v. Standard Parking
Corp., 820 F.Supp.2d 261, 278–79 (D. Mass. 2011). Deliberate disregard requires an intent to discriminate. Canfield
v. Con–Way Freight, Inc., 578 F.Supp.2d 235, 242 (D. Mass. 2008). However, the element of intentionality is satisfied
where a defendant knowingly interfered with the employee's right to be free from discrimination. Runyon, 2015 WL
1276825, *6, citing McLaughlin v. City of Lowell, 84 Mass. App. Ct. 45, 73 (2013). Here, the same core set of facts
related to the individual defendants as set forth above also establish the basis to conclude that they intentionally
interfered with the Plaintiff’s rights to be free from discrimination. The Complaint’s allegations similarly show an
intent to interfere with the Plaintiff’s right to take paternity leave and receive the same benefits as his female
colleagues. Accordingly, the Plaintiff has alleged viable claims under G.L. c. 151B, §4(4A).
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          In Count IV, the Plaintiff also clarifies that he does not allege individual liability under Title VII, only under
G.L.c. 151B.


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alleged conduct by Defendant Barlow that gives rise to individual liability under the FMLA. For

the Defendants to contend otherwise results from a misreading of the Complaint and the 12(b)(6)

standard.

       IV.      THE DEFENDANTS’ WRONGFUL CONDUCT ALLEGED IN COUNTS I
                THROUGH IV PROPERLY INCLUDE CONDUCT OCCURRING
                BEFORE JANUARY 5, 2020.

       The Defendants are also mistaken that any alleged wrongful conduct before January 5, 2020

is time-barred. The wrongful conduct during this time period, including (i) Defendant Piper’s

statements on November 14, 2019 and Defendant Fetten’s on November 19, 2019, respectively,

and (ii) the discriminatory failure by Defendants to grant him a leave of absence under the MPLA

(which he sought in November 2019 and began on December 30, 2019), comprise part of a

continuing pattern of discriminatory conduct against the Plaintiff, and therefore, is timely.

       All of this conduct unquestionably relates to the Plaintiff’s request for leave, the unlawful

interference with it as well as the retaliation for it. Such conduct ultimately must be viewed in its

totality in order to assess adequately its discriminatory and retaliatory nature and impact. Such

conduct is also admissible under the continuing violation doctrine, which is embodied in

regulations promulgated by MCAD, namely 804 CMR §1.04(3). That regulation, in pertinent part,

provides that a "complaint may be filed . . . at any time within three hundred days after the alleged

unlawful conduct; provided, however, that the requirement shall not be a bar to filing in those

instances where facts are alleged which indicate that the unlawful conduct complained of is of a

continuing nature. . . ." Id.

       This exception explicitly "recognizes that some claims of discrimination involve a series

of related events that have to be viewed in their totality in order to assess adequately their

discriminatory nature and impact." Cuddyer v. Stop & Shop Supermarket Co., 434 Mass. 521, 531




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(2001). Massachusetts has long applied this rule to discrimination claims. See Clifton v.

Massachusetts Bay Transp. Auth., 445 Mass. 611, 616–617 (2005); Cuddyer, supra at 531. This

continuing violation doctrine allows MCAD and the court to anchor and validate claims based on

earlier events which are technically outside the statute of limitations, providing the "alleged events

are part of an ongoing pattern of discrimination," and at least one event is within the applicable

limitations period. Cuddyer, supra at 532.

       Massachusetts courts have adopted “the continuing violation doctrine as an exception to

the limitations periods in chapter 151B.” DaCosta v. Town of Plymouth, No. 11-cv-12133, 2014

WL 2998986, at *15 (D. Mass. July 1, 2014, citing quoting Noviello v. City of Bos., 398 F.3d 76,

86 (1st Cir. 2005). The Massachusetts Supreme Judicial Court (the “SJC”) has recognized that “in

certain discrimination cases arising under G.L. c. 151B, § 4, . . . the continuing violation doctrine

permits plaintiffs to recover for damages occurring outside the limitations period as long as ‘there

is a discrete violation within the [statute of] limitations period to anchor the earlier claims.’”

Crocker v. Townsend Oil Co., Inc., 464 Mass. 1 (2012) (alteration in original), quoting Cuddyer,

supra at 531. Further, the “alleged timely discriminatory acts [must] have a substantial relationship

to the alleged untimely discriminatory acts.” Ocean Spray Cranberries, Inc. v. Mass. Comm’n

Against Discrimination, 441 Mass. 632 (2004). Lastly, a plaintiff generally must show that “earlier

violations outside the [] limitations period did not trigger [the plaintiff’s] ‘awareness and duty’ to

assert his rights, i.e., that [the plaintiff] could not have formed a reasonable belief at the time the

employment actions occurred that they were discriminatory.” Id. at 266–67.

       Similarly, “[u]nder Title VII . . ., the continuing violation doctrine ‘allows an employee to

seek damages for otherwise time[-]barred allegations if they are deemed part of an ongoing series

of discriminatory acts and ‘there is some violation within the statute of limitations period that




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anchors the earlier claims.’” DaCosta, supra at *14, quoting Loubriel v. Fondo del Segundo del

Estado, 694 F.3d 139, 144 (1st Cir. 2012). “To qualify as an anchoring act, the discriminatory act

must ‘substantially relate[ ] to [the] earlier incidents of abuse.’” Lockridge v. The Univ. of Me. Sys.,

597 F.3d 464, 474 (1st Cir. 2010) (alterations in original), quoting Noviello, supra at 86. The

doctrine applies ‘to discriminatory conduct that takes place over a series of days or perhaps years.’”

DaCosta, supra at *15 (citations and internal quotation marks omitted), quoting Tobin v. Liberty

Mut. Ins. Co., 553 F.3d 121, 130 (1st Cir. 2009).

         Here, the allegations in the Plaintiff’s Complaint establish unequivocally that the subject

conduct including (i) Defendant Piper’s statements on November 14, 2019 and Defendant Fetten’s

statements on November 19, 2019, respectively, and (ii) the discriminatory failure by Defendants

to grant the Plaintiff an unfettered leave of absence under the MPLA all involve a continuing series

of events that are necessarily and factually interrelated and intertwined with the unlawful

interference with his paternity leave and Plaintiff’s unlawful termination, all unlawful acts within

the limitations period. Such allegations, with all reasonable inferences drawn in the Plaintiff’s

favor, sufficiently tie into a broader pattern of discriminatory conduct that are all substantially

related. Indeed, they constituted a continuing course of discriminatory conduct that ultimately

culminated in the Plaintiff’s unlawful termination. Accordingly, dismissal of the Plaintiff’s claim

based on conduct prior to January 5, 2020 is wholly inappropriate at this time.

    V.       THE PLAINTIFF HAS ALSO SUFFICIENTLY ALLEGED THE REQUSIITE
             MALICE TO SUSTAIN HIS CLAIM OF INTENTIONAL INTERFERENCE
             WITH   CONTRACTUAL/ADVANTAGEOUS       RELATIONS  AGAINST
             DEFENDANTS PIPER, FARSTEN AND BARLOW.

         The Defendants’ contentions attacking the Plaintiff’s intentional interference with

contractual/advantageous relations claim are unpersuasive because he has adequately alleged the

Defendants’ “actual malice.” When the Plaintiff's Complaint is read in a light most favorable to him,


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numerous factual allegations plausibly suggest that the conduct of Defendants Piper, Fetten and

Barlow was indicative of discriminatory as well as a malicious intent, the result of which interfered

with Plaintiff's employment and future career opportunities with Defendant Ledvance. See, e.g.,

Comey v. Hill, 387 Mass. 11, 19-20 (1982) (action based on age discrimination supported a

jury verdict for the plaintiff on intentional interference claim); see also Tuli v. Brigham &

Women‟s Hospital, 656 F.3d 33, 43 (1st Cir. 2011) (same); Blackstone v. Cashman, 448

Mass. 255, 260 (2007) (same); (reversing grant of summary judgment where there was

evidence that defendants subjected plaintiff to pattern of age discrimination, causing her to

resign from her job).

         Additionally, it has long been recognized that the Plaintiff’s allegations of retaliatory

conduct by the individual defendants satisfies the “actual malice” requirement for interference

claims. See Zimmerman v. Direct Fed. Credit Union, 262 F.3d 70 (1st Cir. 2001) (holding that

retaliatory animus satisfies the “male” showing for intentional interference claims); Caloia v.

Putnam Invs., LLC, CIVIL ACTION NO. 11-10073-RWZ, 8 (D. Mass. Aug. 21, 2012)

(“However, "the elements underlying a claim for unlawful retaliation may be used to show malice

when a tortious interference claim is brought against a supervisor in a loss-of-employment case.").

Accordingly, dismissal of the Plaintiff’s claim should be denied.

   VI.      THE WORKERS’ COMPENSATION STATUTE (“WCA”) DOES NOT BAR
            THE PLAINTIFF’S INTENTIONAL INFLICTION OF EMOTIONAL
            DISTRESS CLAIMS.

         Contrary to the Defendants’ assertions, the WCA does not bar the Plaintiff’s intentional

infliction of emotional distress claims against his former co-workers, Defendants Piper, Barlow

and Piper, whose retaliatory conduct was not in furtherance of their employer’s interest. As the

Honorable Rya W. Zobel has observed, "[i]ntentional torts which are `in no way within the scope

of employment furthering the interests of the employer' are not barred by the [WCA] because they


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are not an accepted risk of doing business." Foley v. Proctor Gamble Distributing Company, C.A.

01-11314-RWZ, 2003 WL 21696544, at *4 (D. Mass. Jul. 21, 2003), quoting O'Connell v. Chasdi,

400 Mass. 686, 690 (1987)("[w]here a fellow employee commits an intentional tort not related to

the interests of the employer . . . the policies behind the act would not be served by immunizing

the coemployee"); see also Brown v. Nutter, McClennen & Fish, 45 Mass. App. Ct. 212, 216

(1998).

          In Packard v. Commonwealth Exec. Office of Pub. Safety, 2011 U.S. Dist. LEXIS 111055

(D. Mass. Sept. 28, 2011), for example, this Court held that a plaintiff’s termination arising out of

retaliatory animus by a coworker was not barred by the WCA because the decision was not made

in furtherance of employer's interests. Id. The Packard court reasoned that the WCA’s exclusivity

provisions do "not immunize [the defendant] from [a plaintiff’s] claim of intentional infliction of

emotional distress if his [the defendant’s] alleged tortious conduct . . . did not further [MEMA's]

interest." Brown, supra at 216 (interpreting Packard).

          The Packard court also rejected the defendants’ reliance on Green v. Wyman-Gordon Co.,

422 Mass. 551 (1996), and such reasoning applies here with equal force: “The case of Green v.

Wyman-Gordon Co., 422 Mass. 551, 664 N.E.2d 808 (1996), cited by the defendants in their brief,

does not suggest that the exclusivity provisions of the Workers' Compensation Act immunize

fellow employees from liability for intentional torts where the tortious conduct is unrelated to the

employer's interests. In that case, the Massachusetts Supreme Judicial Court determined that the

exclusivity provisions of the Act bar emotional distress claims against an employer that arise out

of the actions of a fellow employee. See Green, 422 Mass. at 558-59, 664 N.E.2d at 813. However,

it did not address the situation presented in this case, where the plaintiff brings such claims directly




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against the co-employee tortfeasor.” Packard, supra at *28 n.7. For these same reasons, the

Defendants’ reliance on Green is misplaced.6

         Here, the allegations presented by the Plaintiff, if proven, would establish that the

Defendants’ actions to discriminate and retaliate against him with respect to his paternity leave

request, his adverse employment actions and his termination were based on discriminatory and/or

retaliatory animus rather than on any intent or effort to serve his employer’s interests, especially

where he provided positive contributions to his employer as a high performer. See O'Connell,

supra at 690. On this basis alone the Defendants’ motion must be denied. Beyond that, "any

judgment as to [Plaintiff]'s ability to prove any set of facts demonstrating that [the individual

defendants] w[ere] acting neither within the course of [their] employment nor in furtherance of

[their] employer's interest" would appear to be "premature." Foley, supra at *4, citing Brown,

supra (emphasis added). Cf. Horney, 95 F. Supp. 2d at 37 (allowing emotional distress claims to

survive Rule 12(b)(6) motion to dismiss since there was "not yet enough information to determine

whether both [the defendant] and [the plaintiff] were acting within the course of their employment

when the torts allegedly occurred, or if anything they were doing was related to the interests of

[their employer]"). Accordingly, the Defendants cannot prevail on their motion to dismiss.7



         6
           In this ever-evolving area of the law, numerous other cases have drawn similar conclusions and held that
claims based on a co-employee’s alleged intentional conduct were not barred by the WCA. See, e.g., Pettengill v.
Curtis, 584 F. Supp. 2d 348 (D. Mass. 2008) (exclusivity provision of WCA did not bar claim for negligent infliction
of emotional distress based on sexual abuse); Bourbeau v. City of Chicopee, 445 F. Supp. 2d 106 (D. Mass. 2006)
(motion for summary judgment denied as to claim of intentional infliction of emotional distress where it was premature
to determine whether coworker was acting within the scope of his employment); Cushing v. Gaw, No. 081043D, 2010
Mass. Super. LEXIS 82 (Super. Ct. Mar. 16, 2010) (where defendant fabricated charges of sexually inappropriate
behavior against plaintiff and acted out of personal animus, such acts were unrelated to interests of town and claims
for intentional infliction of emotional distress and intentional interference with contractual relations were not barred
by WCA).
         7
           This Court should also reject any effort by the Defendants to seek dismissal based on a purported failure to
exhaust administrative remedies. The Plaintiff has clearly satisfied all administrative prerequisites and the Defendants
cannot contend otherwise. Indeed, they themselves concede in their motion that the Plaintiff previously filed his claims
before the MCAD before transferring his claims to the Superior Court. See Defs. Motion to Dismiss, at p.3.


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   VII.     PLAINTIFF’S ALLEGATIONS IN COUNT NINE ARE ALSO SUFFICIENT
            TO WITHSTAND DISMISSAL.

         Drawing all reasonable inferences in the Plaintiff’s favor, this Court must deny the

Defendants’ effort to dismiss the Plaintiff’s claim based on the breach of the implied covenant of

fair dealing. The Plaintiff’s Complaint does sufficiently allege that the Defendants’ conduct

deprived the Plaintiff of compensation, including bonus monies which would have been due had

he remained employed. Gram v. Liberty Mutual Insurance, 384 Mass. 659 (1984). Accordingly,

the Defendants’ motion should be denied.

   IX.      CONCLUSION

         Based on the foregoing and any other matters stated orally to the Court, the Plaintiff

respectfully requests that this Court deny the Defendants’ Motion to Dismiss.


DATED: October 20, 2021                                  Respectfully submitted,

                                                         AHMED EISSA

                                                         By his Attorney,

                                                            /s/   Helen G. Litsas

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 20, 2021, a copy of the foregoing document was filed
electronically through the Court’s ECF system on the following counsel for Defendants:

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         303 Congress Street
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                             /s/     Helen G. Litsas
                                   Helen G. Litsas




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